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              State of Tennessee v. Larry Dale PittsM2021-01334-CCA-R3-CDAuthoring Judge: Judge Timothy L. EasterTrial Court Judge: Judge Barry R. TidwellLarry Dale Pitts, Defendant, was convicted of aggravated assault after a jury trial. The trial court denied his request for judicial diversion and sentenced him to split confinement, with one year of incarceration, and the remainder on supervised probation. He now appeals the sentencing determinations of the trial court, arguing that it abused its discretion in denying judicial diversion, denying full probation, and sentencing him to the maximum within-range sentence of six years. After review, we affirm the judgment of the trial court.            
                      
              Rutherford County            
                      
              Court of Criminal Appeals             
                      
              11/22/22            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Robert Lancaster Steed, Jr.E2022-00145-CCA-R3-CDAuthoring Judge: Judge Robert W. WedemeyerTrial Court Judge: Judge G. Scott GreenIn 2019, the Defendant, Robert Lancaster Steed, Jr., pleaded guilty to evading arrest, false imprisonment, domestic assault, and theft. The trial court sentenced the Defendant, by agreement of the parties, to an effective sentence of six years of probation. After several violations, the trial court ultimately revoked the Defendant’s probation and ordered him to serve his sentence in the Department of Correction. On appeal, the Defendant contends that his poor performance on probation was due to his drug addiction, so the trial court should have ordered a period of confinement followed by intensive outpatient substance abuse and mental health treatment. After review, we affirm the trial court’s judgment.            
                      
              Knox County            
                      
              Court of Criminal Appeals             
                      
              11/21/22            
                      
                          
                      
                          
                  
                        
                      
              Brandon Nathaniel Merritt v. State of TennesseeW2021-01448-CCA-R3-PCAuthoring Judge: Judge Tom GreenholtzTrial Court Judge: Judge Lee V. CoffeeThe Petitioner, Brandon Nathaniel Merritt, pled guilty to attempted rape and sexual battery and agreed to an effective sentence of six years. Pursuant to the plea agreement, the trial court was to determine how the sentence would be served. After the trial court imposed a sentence of full confinement, the Petitioner timely filed a petition for post-conviction relief asserting that he received the ineffective assistance of counsel regarding his guilty pleas and at his sentencing hearing. He also asserted that his guilty pleas were not knowingly and voluntarily entered. After an evidentiary hearing, the post-conviction court denied the petition for post-conviction relief. On appeal, we affirm the judgment of the postconviction court.            
                      
              Shelby County            
                      
              Court of Criminal Appeals             
                      
              11/18/22            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Aaron Dewayne TrouttM2021-01248-CCA-R3-CDAuthoring Judge: Judge Kyle A. HixsonTrial Court Judge: Judge Vanessa A. JacksonThe Defendant, Aaron Dewayne Troutt, appeals as of right from the trial court’s dismissal of his Tennessee Rule of Criminal Procedure 36 motion to correct a clerical error. The Defendant contends that the trial court erred by concluding it was without jurisdiction to modify a final judgment to award behavioral and pretrial jail credit. After review, we affirm the trial court’s decision in part, reverse in part, and remand for findings on whether a clerical error exists regarding the Defendant’s pretrial jail credit.            
                      
              Coffee County            
                      
              Court of Criminal Appeals             
                      
              11/18/22            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Marlon J. Johnson, Jr. E2022-00098-CCA-R3-CDAuthoring Judge: Judge Camille R. McMullenTrial Court Judge: Judge James F. Goodwin, Jr. The Defendant-Appellant, Marlon J. Johnson, Jr., appeals the revocation of his six-year probationary sentence for two counts of aggravated burglary, domestic assault, misdemeanor assault, misdemeanor theft, and misdemeanor false imprisonment. The Defendant conceded the probation violation before the trial court and on appeal. Accordingly, the sole issue presented for our review is whether the trial court erred in ordering the Defendant to serve the balance of his sentence in confinement. Upon review, we affirm.            
                      
              Sullivan County            
                      
              Court of Criminal Appeals             
                      
              11/16/22            
                      
                          
                      
                          
                  
                        
                      
              Donta Lamar Weir v. State of TennesseeM2021-01254-CCA-R3-PCAuthoring Judge: Presiding Judge James Curwood Witt, Jr.Trial Court Judge: Judge Larry B. Stanley, Jr.The petitioner, Donta Lamar Weir, appeals the summary dismissal of his petition for postconviction relief, which petition challenged his 2021 guilty-pleaded convictions of delivery of cocaine in a drug-free school zone, delivery of cocaine, and delivery of a counterfeit controlled substance. He argues that the post-conviction court erred by concluding that he failed to state a colorable claim for relief. Discerning no error, we affirm.            
                      
              Warren County            
                      
              Court of Criminal Appeals             
                      
              11/15/22            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Thomas Adam BlackwellM2020-01171-CCA-R3-CDAuthoring Judge: Judge Robert L. Holloway, Jr.Trial Court Judge: Judge Dee David GayThomas Adam Blackwell, Defendant, claims that the trial court abused its discretion byrevoking his probation, denying an alternative sentence, and ordering his three-yearsentence for fourth offense driving under the influence (“DUI”) to be served consecutivelyto the seven-year sentence that he was serving on community corrections when he wasarrested for the DUI. After a thorough review of the record and applicable law, we affirm.            
                      
              Sumner County            
                      
              Court of Criminal Appeals             
                      
              11/15/22            
                      
                          
                      
                          
                  
                        
                      
              Christopher Brown v. State of TennesseeW2021-01331-CCA-R3-PCAuthoring Judge: Judge Tom GreenholtzTrial Court Judge: Judge J. Robert Carter, Jr.The Petitioner, Christopher Brown, was convicted of one count of first degree murder and three counts of aggravated assault by a Shelby County jury. The Petitioner later filed a petition for post-conviction relief alleging that he was denied the effective assistance of counsel when trial counsel failed to disclose discovery materials and failed to call particular witnesses. The post-conviction court denied the petition after an evidentiary hearing. On appeal, we affirm the judgment of the post-conviction court.            
                      
              Shelby County            
                      
              Court of Criminal Appeals             
                      
              11/14/22            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Demarcus WootenW2022-00315-CCA-R3-CDAuthoring Judge: Judge Tom GreenholtzTrial Court Judge: Judge W. Mark WardA Shelby County jury found the Defendant, Demarcus Wooten, guilty of the offenses of first degree murder, attempted first degree murder, and employing a firearm during the commission of a dangerous felony. The trial court imposed a total effective sentence of life plus twenty-nine years. On appeal, the Defendant argues that the evidence is insufficient to sustain his murder and attempted murder convictions, arguing principally that the proof did not establish the elements of intent and premeditation. We respectfully disagree, and we affirm the judgments of the trial court.            
                      
              Shelby County            
                      
              Court of Criminal Appeals             
                      
              11/14/22            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Marcus DavisW2021-01147-CCA-R3-CDAuthoring Judge: Judge John W. Campbell, Sr.Trial Court Judge: Judge J. Robert Carter, Jr.The Defendant, Marcus Davis, was convicted by a Shelby County Criminal Court jury of attempted first degree premeditated murder, a Class A felony, and employing a firearm during the attempt to commit a dangerous felony, a Class C felony, and was sentenced by the trial court to an effective term of twenty-one years in the Department of Correction. On appeal, he argues that the evidence is insufficient to show premeditation and that the trial court erred by denying his request for a jury instruction on self-defense. Based on our review, we affirm the judgments of the trial court.            
                      
              Shelby County            
                      
              Court of Criminal Appeals             
                      
              11/14/22            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Stephen Hampton and Margaret HamptonW2021-00938-CCA-R3-CDAuthoring Judge: Judge John w. Campbell, Sr.Trial Court Judge: Judge Donald H. AllenStephen Paul Hampton and Margaret Mary Hampton were charged in the Madison County Circuit Court with drug and weapon offenses, but the charges were dismissed after the trial court granted their motions to suppress statements made to a police officer and evidence found in their vehicle. On appeal, the State contends that the trial court erred by granting the motions to suppress because the statements were not made during a custodial interrogation and because the police officer had probable cause to search the vehicle. Based upon the oral arguments, the record, and the parties’ briefs, we reverse the trial court’s orders granting the motions to suppress, vacate the order dismissing the indictment, and remand the case to the trial court for further proceedings consistent with this opinion.            
                      
              Madison County            
                      
              Court of Criminal Appeals             
                      
              11/14/22            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Jeremy Lynn ThorntonW2021-01127-CCA-R3-CDAuthoring Judge: Judge John W. Campbell, Sr.Trial Court Judge: Judge Charles C. McGinleyThe Defendant, Jeremy Lynn Thornton, was convicted in the Benton County Circuit Court of possession of methamphetamine with intent to sell or deliver, possession of heroin with intent to sell or deliver, simple possession of alprazolam, simple possession of marijuana, possession of drug paraphernalia, and simple possession of diazepam and received an effective ten-year sentence to be served as one year in confinement followed by nine years on community corrections. The State appealed the Defendant’s community corrections sentence, and this court reversed the decision of the trial court and remanded the case for a new sentencing hearing. On remand, the trial court again imposed an effective ten-year sentence to be served as one year in confinement followed by community corrections. The State appeals, claiming that the Defendant is not eligible for community corrections due to his past pattern of behavior indicating violence and pattern of committing violent offenses. Based upon the oral arguments, the record, and the parties’ briefs, we affirm the judgments of the trial court.            
                      
              Benton County            
                      
              Court of Criminal Appeals             
                      
              11/14/22            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Terry James LeeM2021-01084-CCA-R3-CDAuthoring Judge: Presiding Judge James Curwood Witt, Jr. Trial Court Judge: Judge Joseph WoodruffAggrieved of his Williamson County Circuit Court jury convictions of aggravated kidnapping, simple possession, violating the financial responsibility law, speeding, and the improper use of a vehicle registration, the defendant, Terry James Lee, appeals. In this appeal, the defendant challenges the sufficiency of the convicting evidence, the admission of evidence of certain uncharged conduct, and the admission of certain of his pretrial statements to the police. Discerning no error, we affirm.            
                      
              Williamson County            
                      
              Court of Criminal Appeals             
                      
              11/10/22            
                      
                          
                      
                          
                  
                        
                      
              Jacob Tate v. State of TennesseeE2022-00147-CCA-R3-PCAuthoring Judge: Judge James Curwood WittTrial Court Judge: Judge G. Scott GreenThe petitioner, Jacob Tate, appeals the denial of his petition for post-conviction relief, which petition challenged his 2018 guilty-pleaded convictions of especially aggravated kidnapping and rape, arguing that he was deprived of the effective assistance of counsel and that his guilty pleas were not knowingly, voluntarily, and intelligently entered. Discerning no error, we affirm.            
                      
              Knox County            
                      
              Court of Criminal Appeals             
                      
              11/10/22            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Jacquiz McBeeE2021-01048-CCA-R3-CDAuthoring Judge: Judge Jill Bartee AyersTrial Court Judge: Judge Kyle A. HixsonDefendant, Jacquiz McBee, was convicted of first-degree premeditated murder and received a life sentence to be served consecutively to his prior three-year sentence for aggravated assault. On appeal, Defendant argues: that the evidence was insufficient to support his conviction; that the trial court erred by excluding the victim and Defendant’s minor child’s statement to a forensic interviewer; that the trial court erred by failing to redact the words “on probation” from searches made on the internet from Defendant’s cell phone; that the trial court erred by admitting the results of a Google search conducted by Detective McFarland consistent with a search made by Defendant; that the trial court erred by ordering consecutive sentencing; and that cumulative error entitles him to relief. Following our review of the entire record and the parties’ briefs, we affirm the judgment of the trial court.            
                      
              Knox County            
                      
              Court of Criminal Appeals             
                      
              11/09/22            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Eric R. WrightW2021-01270-CCA-R3-CDAuthoring Judge:  Judge Robert H. Montgomery, Jr.Trial Court Judge: Judge John W. CampbellThe Defendant, Eric R. Wright, was convicted by a Shelby County Criminal Court jury of robbery committed by the use of a deadly weapon and two counts of assault with the intent to commit first degree murder, for which he is serving an effective 150-year sentence as a Range III, persistent offender. He filed a Motion to Correct an Illegal Sentence pursuant to Tennessee Rule of Criminal Procedure 36.1, which the trial court denied. On appeal, he contends that the trial court erred in denying relief without appointing counsel and conducting a hearing. We affirm the judgment of the trial court.            
                      
              Shelby County            
                      
              Court of Criminal Appeals             
                      
              11/09/22            
                      
                          
                      
                          
                  
                        
                      
              Thomas N. Allen v. State of Tennessee E2022-00373-CCA-R3-PCAuthoring Judge: Judge Camille R. McMullenTrial Court Judge: Judge Alex E. PearsonThe pro se Petitioner, Thomas N. Allen, appeals from the summary dismissal of his petition filed pursuant to the Post-Conviction DNA Analysis Act of 2001 (“the Act”), wherein he sought DNA testing of evidence related to his first degree murder conviction. After reviewing the record and the parties’ briefs, we affirm the judgment of the post-conviction court.            
                      
              Hamblen County            
                      
              Court of Criminal Appeals             
                      
              11/08/22            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Espiridion Evangelista Kolimlim, IIIM2020-01363-CCA-R3-CDAuthoring Judge: Judge Jill Bartee AyersTrial Court Judge: Judge Michael Wayne CollinsDefendant, Espiridion Evangelista Kolimlim, III, appeals the criminal court’s dismissal of his general sessions appeal from payment of a traffic citation after he filed a motion to withdraw payment of the citation. Following our review of the entire record, oral arguments, and the parties’ briefs, we dismiss the appeal.            
                      
              Wilson County            
                      
              Court of Criminal Appeals             
                      
              11/07/22            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Elijah BowmanE2021-00614-CCA-R3-CDAuthoring Judge: Judge Camille R. McMullenTrial Court Judge: Judge G. Scott GreenThe Defendant-Appellant, Elijah Bowman, was convicted by a jury of first-degree felony murder, two counts of attempted second degree murder, two counts of especially aggravated robbery, and aggravated assault. He received a total effective sentence of life imprisonment plus twelve years. The sole issue presented on appeal is whether the evidence is sufficient to support his convictions of first-degree felony murder, attempted second degree murder, and especially aggravated robbery. We affirm.            
                      
              Knox County            
                      
              Court of Criminal Appeals             
                      
              11/07/22            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Adam HolmesE2021-01489-CCA-R3-CDAuthoring Judge: Judge James Curwood WittTrial Court Judge: Judge Steven W. SwordThe defendant, Adam Holmes, appeals his Knox County Criminal Court jury convictions of possession of a weapon by a convicted felon, second degree murder, and especially aggravated robbery, arguing that the trial court erred by admitting into evidence a Cellebrite cellular telephone data extraction report and the prior testimony of a State witness and by permitting a State witness to testify remotely. Discerning no reversible error, we affirm.            
                      
              Knox County            
                      
              Court of Criminal Appeals             
                      
              11/07/22            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Calvin Sanchez AmosM2021-00986-CCA-R3-CDAuthoring Judge: Judge Timothy L. EasterTrial Court Judge: Judge Stella L. HargroveCalvin Sanchez Amos, Defendant, was indicted for possession of .5 grams or more of cocaine with the intent to sell in a drug-free zone, possession of a firearm with the intent to go armed during the commission of a dangerous felony, and evading arrest. Defendant pled guilty to evading arrest and proceeded to trial on the remaining charges. A jury found Defendant guilty of the lesser included offenses of possession of .5 grams or more of cocaine for resale and attempted possession of a firearm during the commission of a dangerous felony. At the sentencing hearing, Defendant agreed to an effective sentence of 12 years. On appeal, Defendant challenges the sufficiency of the evidence and the trial court’s ruling on the admissibility of a video from Defendant’s phone in which he is seen cooking crack cocaine. After a full review, we affirm the judgments of the trial court.            
                      
              Maury County            
                      
              Court of Criminal Appeals             
                      
              11/03/22            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Tanya Dawn EverettE2022-00189-CCA-R3-CDAuthoring Judge: Judge Tom GreenholtzTrial Court Judge: Judge Davie Reed DugganFollowing a conviction for theft of property, the Defendant, Tanya Dawn Everett, was sentenced to a term of four years and placed on probation. Thereafter, the Blount County Circuit Court found that the Defendant violated the terms of her probation by failing to report and by committing new criminal offenses. As a consequence, the trial court revoked the suspended sentence and ordered the Defendant to serve the balance of her original sentence in custody. On appeal, the Defendant argues that the trial court abused its discretion by ordering her to serve the balance of her sentence in confinement. We respectfully affirm the judgment of the trial court.            
                      
              Blount County            
                      
              Court of Criminal Appeals             
                      
              11/03/22            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Glenn SewellW2021-00023-CCA-R3-PCAuthoring Judge: Judge Jill Bartee AyersTrial Court Judge: Judge Jennifer Johnson MitchellPetitioner, Glenn Sewell, appeals the denial of his post-conviction petition, arguing that the post-conviction court erred in denying his claim of ineffective assistance of counsel at trial. Following our review of the entire record and the briefs and oral arguments of the parties, we affirm the judgment of the post-conviction court.            
                      
              Shelby County            
                      
              Court of Criminal Appeals             
                      
              11/02/22            
                      
                          
                      
                          
                  
                        
                      
              Marlez Wilson A/K/A Marlez Wright v. State of TennesseeW2022-00024-CCA-R3-PCAuthoring Judge: Judge Jill Bartee Ayers Trial Court Judge: Judge James M. LammeyPetitioner, Marlez Wilson a/k/a, Marlez Wright, appeals the denial of his post-conviction petition, arguing that the post-conviction court erred in concluding that he received the effective assistance of counsel. Following our review of the entire record and the briefs of the parties, we affirm the judgment of the post-conviction court.            
                      
              Shelby County            
                      
              Court of Criminal Appeals             
                      
              11/02/22            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. William StricklandE2021-01280-CCA-R3-CDAuthoring Judge: Judge Camille R. McMullenTrial Court Judge: Judge David Reed DugganThe Defendant-Appellant, William Lester Strickland, appeals from the revocation of his probationary sentence for aggravated burglary. The sole issue presented for review is whether the trial court erred in fully revoking the Defendant’s probation and ordering him to serve the remainder of his sentence in confinement. Upon review, we affirm.            
                      
              Blount County            
                      
              Court of Criminal Appeals             
                      
              11/02/22            
                      
                          
                      
                          
                  
            


      
    
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